Case 2:04-cr-20498-SHI\/|-ch Document 40 Filed 06/01/05 Page 10f2 Page|D 42
IN THE UNITED sTATEs DISTRICT coURT F“'ED E" …~ D-"»-
FOR THE WESTERN DISTRICT oF TENNESSEE

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UNITED STATES OF AMERICA,
Plaintiff,
vs. CR. NO. 04-20498-Ma

RONALD JONES,

v-_,-_,~_,~_,~_._¢~_._,~_,`,

Defendant.

 

ORDER ON CONTINUANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for 51 report date on. April 21, 2005.
Defense Counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case and to
allow for the disposition of the pending Motion to Suppress.

The Court granted the request and continued the trial date to
the rotation docket beginning July 5, 2005 at 9:30 a.m., with a
report date of Friday, June 24, 2005 at 2:00 p.m.

The period from April 21, 2005 through July 15, 2005 is
excludable under 18 U.S.C. §§ 3161(h)(8)(B)(iv) and 3l6l(h)(l)(F)
because the interests of justice in allowing additional time to
prepare and the need to dispose of the pending motion outweigh the
need for a speedy trial.

IT IS SO ORDERED this slf$' day of May, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JU E

 
 
  

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Mary Catherine Jermann
FEDERAL PUBLIC DEFENDER
200 Jefferson Ave.

Ste. 200

l\/lemphis7 TN 38103

David Charles Henry

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

l\/lemphis7 TN 38103

Honcrable Samuel Mays
US DISTRICT COURT

